Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 1 of 18 Page |D #:1

 

 

Ao<)l (Rev. 11/82> CRIMINAL COMPLAINT
UNITED STATES DISTRICT COURT CENTRAL Dl§TRICT QF CALIFORNIA
ji_§§`? 1_',~ 1 un
Doci<r-;T No_

UNITED STATES OF AMERICA

V. § \\1lllr\LDloll*\~l1/F ohl

 

 

RANDALL J. JETT, also known as Randy Jett MAG]STRATE S CASE NOW:?_'

3116- -zazM

 

 

Complaint for Violation of Title 42, United States Code, Section l32()a-7b(b)(2)(A): lllegal Remuneration
lnvolving A Federal Health Care Program

 

 

 

 

 

 

NAME OF MAG lSTRATE JUDGE l..OCATlON
UNITED STATES _ _
HONORABLE KAREN E. SCOTT MAGISTRATE JUDGE Santa Ana, Callforma
h n
DATE or 0FFE'1;-a §§ PLACE or oFFENsE ADDRESS 01= AccUsED <IF KNowN)
li 0
£Qn or abou't_Au c3'1,-_§7.8 2014 Orange County
lLL__a_ 302
(&WLArN/\NLSTA&TEMT or FACTS coNsTmmNG ri-n~: oFFENsF. oR vioLAnoN;
c) :l;:§ '
_.l .., =>`¢¢~” 142 U.s.C. § 1320a-7b(b)(2)(A)]
>;j_ l-'

 

On Babbl§ August 28, 2014, in Orange County, Within the Central District of Califomia, defendant
RANDALL J. JETT, also known as Randy Jett knowingly and Willfully, offered to pay remuneration, that ls `
money, to Dr. l\/I.R., DPl\/l, to refer an individual, namely, P.P., to a person for the furnishing, or arranging for
the furnishing, of any item or service for Which payment may be made in whole or in part under a federal health

care program, namely Tricare.

 

BASIS OF COMPLAINANT’S CHARGE AGAI'NST TH'E ACCUSED:

(See attached Affldavit which is incorporated herein by this reference as part of this Complaint)

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE: N/A

 

 

SIGNATURE OF COMPl..,AlNANT

Being duly sworn, I declare that the l`§\

foregoing is true and correct to the best MONICA PANDIS

of my knowledge orricial. rims 1 1
Speclal Agent ~ Federal Bureau of lnvestlgatlon

 

 

Sworn to before me and subscribed in my presence,

 

slGNATURE OF MAGlsTRATE JUDGE*” DA'rE

 

 

 

 

m See Federal Rules of Crimina| Procedure 3 and 54

AUSA: l\/lark Aveis, USAO CDCA, Major Frauds Section, (2l3) 894-4477 REC: Bond

M»MM.-.. uaw .. ..`. . ..t

Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 2 of 18 Page |D #:2

AFFIDAVIT

I, MONICA PANDIS, being duly sworn, declare and state as
follows
I . AFFIANT ' S BACKGROUND

1. I am a Special Agent (“SA”) of the Federal Bureau of
Investigation (“FBI”). I have been so employed since
approximately June 2002. I am currently assigned to the white
collar crime squad of the Orange County Resident Agency of the
Los Angeles FBI Field Division, which investigates allegations
of Public Corruption and Health Care Fraud. Over that past 14
years I have been assigned to investigate Health Care Fraud. As
an FBI SA, l have investigated over 50 health care fraud and
other white-collar cases including cases involving the payment
of illegal kickbacks affecting federal health care programs.
Before becoming an FBI SA, I was a medical social worker
assigned to hospice and pediatric HIV patients. I have a
Master's Degree in Social Work, a Bachelor's Degree in

Behavioral Science and a Minor in Criminal Justice and

Corrections.
II. PURPOSE OF AFFIDAVIT
2. This affidavit is made in support of a complaint and

request for the issuance of an arrest warrant charging Randall
J. Jett, aka Randy Jett, with Illegal Remunerations for Health
Care Referrals, in violation of 42 U.S.C. § 1320a-7b(b)(2)(A).
3. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, documents

obtained from various sources including financial institutions,

Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 3 of 18 Page |D #:3

information obtained from various law enforcement personnel, and
from witnesses. This affidavit is intended to show only that
there is probable cause to support the referenced complaint and
request for issuance of an arrest warrant for JETT. It does not
purport to set forth all of my knowledge of or investigation
into this matter, nor is it intended to provide all of the
information obtained in connection with the investigation.
Also, unless specifically indicated otherwise, all conversations
and statements described in this affidavit are related in
substance and in part only, and are not verbatim.
III. SUMI/.LARY OF PROBABLE CAUSE

4. Based upon the evidence and information stated herein,
I have probable cause to believe that JETT offered to pay
illegal remuneration, namely, a kickback, to a podiatrist to
prescribe medication. JETT's offer occurred at the time of an
enormous uptick in claims, many of them fraudulent, made by
pharmacies for Tricare reimbursements for filling compounded
medications prescriptions. Those pharmacies had agreed to pay
referral fees to so~called marketers in exchange for steering
those prescriptions to the pharmacies. I have probable cause to

believe those referral fees were also illegal kickbacks.

Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 4 of 18 Page |D #:4

IV. STATEMENT OF PROBABLE CAUSE `

A. BACKGROUND

TRICAREl

5. “In 1994, Tricare replaced CHAMPUS as the health care
program for active-duty military personnel, retirees, and their

families. See http:// www.Tricare.mil/faqs/question . . . ,”

 

U.S. ex rel. Nowak v. Medtronic, Inc., 806 F. Supp. 2d 310, 318,

 

note 5 (D. Mass. 2011), as a “comprehensive managed health care
program for the delivery and financing of health care services
in the Military Health System,” see 32 C.F.R. § l99.l7(a).
Tricare is applicable to all of the uniformed services. 32
C.F.R. § 199.17(a)(3). “[A]ll CHAMPUS-eligible beneficiaries
who are not Medicare eligible on the basis of age are eligible
to enroll in” a Tricare program. 32 C.F.R. § 199.17(c).
Tricare is a “health care benefit program” as defined by 18

U.S.C. § 24(b), that affects commerce, see Taylor v. United

 

States, 89 F Supp.3d 766, n. 1 (E.D.N.C. 2014), and as that term
is used in 18 U.S.C. § 1347. Tricare is administered by the
Defense Health Agency (“DHA”).

Compounded Medications

 

6. During the course of this investigation, l have

learned from reviewing documents, witness interviews, and

 

l Statutory and case citations and legal analysis have been

prepared by the Assistant U.S. Attorney with whom I am working
on this investigation. I have relied upon those citations and
that analysis in support of this affidavit.

Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 5 of 18 Page |D #:5

speaking with other investigators involved in the investigation,
that:

a. In general, “compounding” is a practice in which
a licensed pharmacist, a licensed physician, or, in the case of
an outsourcing facility, a person under the supervision of a
licensed pharmacist, combines, mixes, or alters ingredients of a
drug or multiple drugs to create a drug tailored to the needs of
an individual patient.

b. Compounded drugs are not FDA_approved, that is,
the FDA does not verify the safety, potency, effectiveness, or
manufacturing quality of compounded drugs. The California Board
of Pharmacy regulates the practice of compounding in the State
of California.

c. Compounded drugs may be prescribed when an FDA-
approved drug does not meet the health needs of a particular
patient. For example, if a patient is allergic to a specific
ingredient in an FDA-approved medication, such as a dye or a
preservative, a compounded drug can be prepared excluding the
substance that triggers the allergic reaction. Compounded drugs
may also be prescribed when a patient cannot consume a
medication by traditional means, such as an elderly patient or
child who cannot swallow an FDA~approved pill and needs the drug
in a liquid form that is not otherwise available.

d. The compounded medication prescriptions in this
case were ostensibly prescribed for the treatment of pain,
scarring, stretch marks, erectile dysfunction, or for “general

wellness.” The prescriptions were based on substantially

Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 6 of 18 Page |D #:6

similar 8 1/2” x 11” forms with check-the-box sections that
described the chemical compounds for each of these conditions.
Although it may be possible, I have reviewed hundreds of these
forms, and discussed well over a thousand of these forms with
other agents involved in this and related investigations, and I
am not aware of any instances in which a prescribing physician
altered the pre-formulated prescriptions to suit the individual
needs of any patient.

Anti-Kickback Statute

 

7. The federal health care anti-kickback statute, at 42
U.S.C. § 1320a-7(b)(2)(A), (“AKS”) prohibits the offer or
payment of any remuneration (including any kickback, bribe, or
rebate) for referrals in connection with federal health care
programs such as Tricare. To prove a violation of the AKS
statute, the government must prove each of the following
elements beyond a reasonable doubt:

(l) The defendant knowingly and willfully offered or
paid remuneration, directly or indirectly, overtly or covertly;

(2) Referred an individual to a person for the
furnishing or arranging for the furnishing of any item or
service; and

(3) Payment was or would be made in whole or in part
under a federal health Care program.

See, e.g., United States v. Patel, 17 F.Supp.3d 823, 824

 

(N.D.Ill. 2014) .
8. The government need not prove that a defendant had

actual knowledge of the AKS or a specific intent to violate it.

Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 7 of 18 Page |D #:7

42 U.S.C. § 1320a-7(b)(h); United States v. St. Junius, 739 F.3d
193, 210 (5th Cir. 2013) (“Section 1320a~7b(h) clarifies that
the Government is not required to prove actual knowledge of the
Anti~Kickback Statute or specific intent to violate it.

Instead, the Government must prove that the defendant willfully
committed an act that violated the Anti-Kickback Statute.”).
“The [AKS] is not a highly technical tax or financial regulation
that poses a danger of ensnaring persons engaged in apparently
innocent conduct. Rather, the giving or taking of kickbacks for
medical referrals is hardly the sort of activity a person might
expect to be legal.” United States v. Vernon, 723 F.3d. 1234,
1259 (llth Cir. 2013), citing United States v. Starks, 157 F.3d
833, 838 (llth Cir. 1998). The AKS may be violated even where
the referral payment has multiple purposes, so long as at least
one purpose was to induce referrals (as opposed, for example, to
compensate for advertising expense). -United States v.
McClatchey, 217 F.3d 823, 835 (lOth Cir. 2000); United States v.
§E, 871 F.Zd 105, 108 (9th Cir. 1989). Eviden€e that an
individual engaged in illegal kickbacks may include that the
kickback payor deliberately mischaracterized a kickback as a
seemingly legitimate expense. See, e.g., United States v.
§§ran, 778 F.3d 942, 953 (llth Cir. 2015) (kickback payor
“initiated the plan to have the patient recruiters [kickback
payees] sign fraudulent “case manager" contracts" to create

appearance of legitimacy for kickbacks).

Case 8:16-cr-00095-AG Document 1 Filed 06/20/16 Page 8 of 18 Page |D #:8

B. CRIMINAL INVESTIGATION

Tricare Beneficiary Complaints

9. Based upon my discussion with agents of the Defense
Criminal Investigation Service (“DCIS”), I learned the
following:

a. In 2015, DHA made a criminal referral to the DCIS

based, in part, on complaints that DHA had received from Tricare
beneficiaries. Among other things, beneficiaries had complained
about prescriptions for compounded medications. For example, on
or about April 14, 2015, Tricare beneficiary M.H. complained to
DHA that M.H. had received an “Explanation of Benefits” form
from Tricare stating that M.H. received a prescription for
compounded medications for which the dispensing pharmacy had
charged Tricare $59,362.33; that the beneficiary had never
received the medication; that the beneficiary did not know the
prescribing physician; and that the beneficiary had received no
phone calls about the medication. Tricare paid the dispensing
pharmacy $46,981.59 on that claim.3
-b. At least twenty Tricare beneficiaries made

similar complaints to DHA around this same period of time.

JETT's Kickback Offer to M.R., DPM

10. On May ll, 2016, l interviewed JETT who told me the

following:

 

3 I reviewed Tricare claims data and noticed that it was
not uncommon for Tricare to reimburse for less than the amount
of a claim.

Case 8:16-c_r-00095-AG Document 1 Filed 06/20/16 Page 9 of 18 Page |D #:9

a. He had worked in medical sales for 30 years and
had extensive contacts in the medical community that he believed
proved to be a valuable commodity. He often_did marketing for
start-up companies. He was currently part-time employed and
owned a “marketing” company called RJM.

b. In 2014, JETT was a marketing representative for
Products for Doctors (“PFD”) based in San Diego. PFD offered
compounded medications in the form of creams that were delivered
directly to patients' homes. PFD operated as an intermediary
between doctors and pharmacies. PFD would route prescriptions
to different pharmacies and, in exchange, pharmacies paid PFD
and PFD, in turn, paid JETT a 30% commission on the amount that
the pharmacies paid to PFD. JETT earned $2,000 to $6,000 per
month from PFD, all based on commissions. (Based on my
investigation that included reviewing documents, including
contracts between so-called “marketers” and pharmacies, and
interviewing witnesses, including pharmacy owners, l have
learned that this arrangement was consistent with that of other
entities or individuals that had agreements with pharmacies
involved in this investigation. Those agreements called for the
payment of large fees, sometimes up to 65% of the amount a
pharmacy would receive from Tricare reimbursements, in exchange
for referring to the pharmacy a huge stream of compounded
medications prescriptions. The bulk of the prescriptions were
generated through telemedicine or other means where patients had
little, if any, doctor-patient contact. The prescriptions were

routinely delivered electronically to the pharmacies by the so-

Case 8:16-Cr-00095-AG Document 1 ` Filed 06/20/16 Page 10 of 18 Page |D #:10

called marketers or telemedicine site operators, rather than
walked-in by the patients.)

c. JETT “had heard rumors” regarding a scheme
involving compounded cream medications, but he did not know much
about the scheme. He knew that Tricare was like Medicare for
the military but claimed that he did not solicit prescriptions
knowing that reimbursement would be sought from Tricare. Most
of the patients for whom compounded medications prescriptions
were written, on which he earned a commission, were Medicare
patients with secondary private insurance.

d. In 2014, JETT asked M.R., a Doctor of Podiatric
Medicine (“DPM”), if she would prescribe compounded medications.
Although JETT denied that he offered to pay M.R. for writing
compounded medications prescriptions, M.R. told him that such
compensation was considered an illegal kickback. JETT then told
M.R. that, if M.R. signed up for a “pain study” that PFD was
conducting, M.R. could be paid a percentage of the value of the
compounded medications prescriptions that M.R. wrote. JETT told
M.R. that “we've got to do it this way or the doctors can't be
paid ” JETT told M.R. that, as long as doctors signed a form
stating that they were participating in a pain study, payments
to them for writing such prescriptions would not be considered a
kickback,

. e. M.R. refused to sign the pain study “form” and,
therefore, M.R. was not paid any incentives for writing such

prescriptions.

Case 8:16-Cr-00095-AG Document 1 Filed 06/20/16 Page 11 of 18 Page |D #:11

f. JETT's supervisor at PFD was Steve Schur. Schur
instructed JETT about how to sign-up doctors for the pain study.
Schur told JETT that PFD had a legal opinion that paying doctors
for writing prescriptions based on the pain study was
acceptable.

g. JETT did not know whether there was actually a
pain study.

11. After l admonished JETT against making false
statements to federal agents (I had earlier identified myself to
JETT as a federal agent), JETT then admitted that he knew that
there was no pain study. (I know from my investigation that
similar purported studies served as ruses for kickback payments.
For example, two so-called marketers were indicted in Texas for
kickbacks that were in part disguised as payments for a “study”
by a purported pain foundation. United States v. Cesario, et
L_, CR. 3-16CR-O60-M, filed February 18, 2016, Dkt. 3.)

M.R.'s Rejection of JETT's Kickback Offer

12. On May 10, 2016, a DCIS agent and l interviewed M R.,
DPM (the same M.R. to whom JETT had referred during his
interview, above), who told us the following:

a. M.R. is a Doctor of Podiatric Medicine. Her
office is located in Placentia, California.

b. M.R. knows JETT. ln 2014, JETT, a representative
of RJ Medical USA of Lake Forest, California, approached M.R. at
her office to solicit business for prescription compounded

CI`€&THS .

lO

Case 8:16-Cr-OO`095-AG Document 1 Filed 06/20/16 Page 12 of 18 Page |D #:12

c. JETT was “very pushy” and his main sales pitch
was that the pharmacies that dispensed the creams would deliver
the creams to patients' homes.

d. JETT left M.R. a prescription order form that
contained a pre-formulated list of compounds that M.R. could
prescribe.

e. JETT offered to pay M.R. a fee or percentage from
each prescription that M.R. wrote in conjunction with using
JETT's services. M.R. told JETT, “that would be a kickback and
I cannot accept kickbacks." JETT responded by saying, “no, it's
not and we could do it a certain way where it would not be a
kickback."

f. M.R. never received any money from JETT for
writing prescriptions.

g. M.R. did prescribe a few of the compounded creams
that JETT had pitched, including to patient P.P. (discussed
below). M.R. filled-out the prescription forms and gave the
forms to JETT at M.R.'s office.\ JETT then delivered the forms
to PFD.

h. At some point thereafter, P.P. showed M.R. a copy
of P.P.'s “Explanation of Benefits” form that showed that her
Tricare insurance had paid $3,000 for the compounded creams that
M.R. had prescribed. M.R. then contacted JETT to inquire about
why the charge was so high. JETT told M.R. that P.P.'s
insurance carrier had been billed for a year’s supply of the

medication. M.R. told JETT that she (M.R.) had not authorized

ll

Case 8:16-Cr-00095-AG Document 1 Filed 06/20/16 Page 13 of 18 Page |D #:13

any refills. M.R. thereafter did not write any compounded
medications prescriptions through JETT.

13. On May 9, 2016, I interviewed, P.P. (mentioned
above), who told me the following:

a. She is a patient of Dr. M.R.

b. In or about October 20l4, while at M R.'s office,
M.R. told P.P. that there was a sales rep in M.R.’s office who
had information about compound cream for pain,

c. P.P. then spoke to the sales rep, whose name she
could not recall. P.P. described the sales rep as an older,
big, Caucasion male. (Having seen JETT, l believe that JETT
matched the description given by P.P.)

d. P.P. did not recall whether M.R. prescribed
compounded creams for P.P.

e. After that visit to M.R.'s office, in or about
October 2014, P.P. received compounded cream from Professional
Compounding Pharmacy (“PCP”). The package arrived at her
residence; she did not visit PCP. P.P. did not pay a co-payment
to PCP. P.P. did not feel that the medication was helpful.

f. Approximately one month later, P.P. received yet
another package at her residence containing the same medication,
also from PCP. P.P. mailed the package back to PCP. P.P. at
that same time called PCP. She did not recall the name_of the
person at PCP with whom she spoke, but P.P. recalled telling
that person that P.P. was returning the second package and did

not want any more. The person told P.P. that PCP was at that

12

Case 8:16-Cr-00095-AG Document 1 Filed 06/20/16 Page 14 of 18 Page |D #:14

time in the process of sending P.P. yet a third package of the
same medication.

g. P.P. received a questionnaire in the mail from
the sales rep that she had met at M R.'s office. She recalled
completing the questionnaire by stating that the medication was
not effective. She mailed the questionnaire to the sales rep.

h. In late 2014, P.P. received a statement from
Tricare regarding the cost of the compounded cream medication.
She was angry to see the high charge. She took the statement to
M.R. who was also angry and stated that she (M.R.) was going to
call the sales rep.

14. l checked the Tricare claims data for compounded
medications prescriptions dispensed by PCP and learned the
following:

a. PCP was located in La Habra, California.

b. For calendar year 2013, PCP submitted
approximately 62 Tricare claims for filling compounded
medications prescriptions, for approximately $60,343 83.
Tricare paid approximately $58,003.96 on those claims.

c. For calendar year 2014, PCP submitted
approximately 1,344 Tricare claims for filling compounded
medications prescriptions, for approximately $5,126,604.47.
Tricare paid approximately $4,412,824.86 on those claims.

d. For calendar year 2015, PCP submitted
approximately 2,727 Tricare claims for filling compounded
medications prescriptions, for approximately $17,495,016.03.

Tricare paid approximately $14,722,308.08 on those claims. ln

13

Case 8:16-Cr-00095-AG Document 1 Filed 06/20/16 Page 15 of 18 Page |D #:15

or about early May 2015, Tricare stopped honoring most claims
for reimbursement for filling compounded medications
prescriptions in part due a CBS News report that an Iowa
physician's identity had been stolen and used repeatedly to
support prescriptions for compounded medications.

e. On August 28, 2014, PCP filled a compounded
medications prescription for P.P., authorized by M.R., and
billed Tricare $995.00. On September 11, 2014, PCP filled
another compounded medications prescription for P.P., authorized
by Dr. M.R., and billed Tricare $995.00. Tricare paid both of
those claims at $983.00 and $983.00 respectively.

f. Under Tricare rules, PCP was required for each
prescription to either collect a co-payment or first obtain from
Tricare a waiver of co-payment collection. Tricare data showed
that PCP was required to collect a co-payment for each
prescription for P.P.; no data showed that Tricare waived the
co-payments. P.P. mentioned that she had not paid a co-payment.
(During the course of this investigation, l have found dozens,
if not hundreds, of instances in which compounded medications
prescriptions were filled by pharmacies that received the
prescriptions from cappers like JETT, or other intermediaries,
instead of from patients/beneficiaries, and did not collect co-
payments. Based on that and other information gathered in this
investigation, I believe that PCP violated Tricare rules and
further shows probable cause to believe that cappers, like JETT,

and pharmacies, schemed to defraud Tricare.)

14

Case 8:16-Cr-00095-AG Document 1 Filed 06/20/16 Page 16 of 18 Page |D #:16

15. The AKS has several safe harbors as well as an
implied safe harbor that results from either getting or to some
extent relying on advisory opinions from the U.S. Department of
Health and Human Services (“HHS”). 42 C.F.R. § 1001 952. The
first safe harbor is a “referral service.” A payment to a
“referral service” may be exempt from AKS liability if it meets
four requirements, set forth in 42 C.F.R. § 1001.952(f),
including that payments must be based on the cost of operating
the referral service, and notion the volume or value of any
referrals to or business otherwise generated. I know from the
evidence gathered in this and related investigations that
dispensing pharmacies claimed thousands of dollars per
prescription in seeking reimbursement from Tricare and, in turn,
paid large amounts of those reimbursements to cappers that had
referred the prescriptions to the pharmacies. Based on that
evidence, and JETT’s statements, described in detail below, that
(1) he received compensation tied to a percentage of the value
of his referrals, and (2) offered to pay a physician a kickback
disguised as a payment to participate in a phony “pain study,” I
believe that there is probable cause to believe that JETT's
activities did not meet the test for the “referral service”
exemption described above because the payments to him appeared
to be based on the volume and value of the business he generated
by his referrals, and were not based on the actual or legitimate
cost of operating a bona fide referral service.

16. I further believe that JETT cannot claim the employee

exemption either, 42 C.F.R. § 1001.952(i), that exempts payments

15

Case 8:16-Cr-00095-AG Document 1 Filed 06/20/16 Page 17 of 18 Page |D #:17

in a bona fide employment relationship. At least under Medicare
AKS case law, “the safe-harbor provision relies on 26 U.S.C.

§ 3121(d)(2) for the definition that an employee is ‘any
individual who, under the usual common law rules applicable in

determining the employer-employee relationship, has the status

of an employee '” United States v. Robinson, 505 F.App'x. 385,

 

387 (5th Cir. 2013). JETT admitted to me that he was a “1099
employee” who was an independent contractor who worked entirely
on commission. He was not employed by the pharmacies to whom he
had referred, or intended to refer, prescriptions for
fulfillment in exchange for a fee.

17. Based on my discussions with others involved in this
investigation, 1 have learned that JETT had not sought, nor was
he identified as the subject of, an HHS advisory opinion. l
therefore believe there is probable cause to believe that JETT's

offense conduct, as described herein, would not exempt him from

///
///
///
///
///
///
///
///
///
///
///

16

Case 8:16-Cr-00095-AG Document 1 Filed 06/20/16 `Page 18 of 18 Page |D #:18

criminal liability based upon, or reliance on, an HHS advisory

opinion.
IV. CONCLUSION
18. For all of the reasons described above, I believe

there is probable cause to believe that RANDY JETT offered to
pay an illegal remuneration, in violation of Title 42, United

States Code, 1320a-7b(b)(2)(A).

151

, .
Monica Pandisr Special Agent
Federal Bureau of Investigation

Subscribed to and sworn before me
this 20 day of June, 2016,

{§\

l f
HONORABLE
UNITED STATES MAGISTRATE JUDGE

KARENE.SCUTT

17

